      Case: 1:24-cv-08406 Document #: 31 Filed: 12/03/24 Page 1 of 1 PageID #:899




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 CROWVISION, INC.,


                           Plaintiff,                  Case No. 24-cv-8406
 v.

 THE PARTNERSHIPS and                                  Judge Franklin U. Valderrama
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A,

                           Defendants.


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P 41(a)(1)

         Pursuant to Federal Rule of Civil Procedure 41(a)(1), Crowvision, Inc. (“Plaintiff”), hereby

voluntarily dismisses its Complaint against the following Defendants identified on Schedule A, with each

party responsible for its costs and attorneys’ fees:

                       Defendant No.                        Store Name
                             31                           LINLINLINLIN
                             39                               postgzt
                             47                              yezi66661
                             93                              gearbunch
                            114                        ZZz Decorative stickers

Dated: December 3, 2024                                   Respectfully submitted,

                                                          /s/ Sofia Quezada Hastings
                                                          Sofia Quezada Hastings
                                                          One of the Attorneys for Plaintiff

Matthew De Preter
Sofia Quezada Hastings
ARONBERG GOLDGEHN DAVIS & GARMISA
225 W. Washington St. Suite 2800
Chicago, IL 60606
shastings@agdglaw.com
4887-1537-2431, v. 1
